AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                       UNITED STATES DISTRICT COURT
                                                                    for the                                                           Jun 26, 2020
                                                        Eastern District
                                                      __________         of Wisconsin
                                                                  District  of __________                                         s/ JeremyHeacox


               In the Matter of the Search of                                )
          (Briefly describe the property to be searched                      )
           or identify the person by name and address)                       )              Case No.    20-M-350 (SCD)
       ,QIRUPDWLRQDVVRFLDWHG ZLWK WKH IROORZLQJ 6N\SH DFFRXQW             )
GRQVWHQVRQ ZKLFK LV VWRUHG DW SUHPLVHV RZQHG PDLQWDLQHG FRQWUROOHG RU     )
     RSHUDWHG E\ 0LFURVRIW &RUS D EXVLQHVV ZLWK RIILFHV ORFDWHG DW         )
              0LFURVRIW :D\ 5HGPRQG :$ 

     $33/,&$7,21)25$:$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  6HH $WWDFKPHQW $

located in the                                    District of                                             , there is now concealed (identify the
person or describe the property to be seized):
  6HH $WWDFKPHQW %


           The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                ✔ evidence of a crime;
                u
                u contraband, fruits of crime, or other items illegally possessed;
                  u property designed for use, intended for use, or used in committing a crime;
                  u a person to be arrested or a person who is unlawfully restrained.
           The search is related to a violation of:
              Code Section                                                              Offense Description
         86&  D    E               6H[ WUDIILFNLQJ RI FKLOGUHQ 7UDYHO LQ IRUHLJQ FRPPHUFH RU UHVLGH LQ D IRUHLJQ
          DQG  D  DQG 6HFWLRQ               FRXQWU\ DQG HQJDJH LQ DQ\ LOOLFLW VH[XDO FRQGXFW ZLWK DQRWKHU SHUVRQ ZKR KDV QRW
         F DQG H                              DWWDLQHG WKH DJH RI HLJKWHHQ RU DWWHPSWHG WR GR VR
           The application is based on these facts:
         6HH $WWDFKHG $IILGDYLW


           u Continued on the attached sheet.
           u Delayed notice of        days (give exact ending date if more than 30 days:                                       ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                              .(9,1&:521$ 'LJLWDOO\VLJQHGE\.(9,1&:521$
                                                                                            'DWH 
                                                                                                         Applicant’s signature

                                                                                               +6, 6SHFLDO $JHQW .HYLQ & :URQD
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      WHOHSKRQH                       (specify reliable electronic means).


Date:       6-26-20
                                                                                                           Judge’s signature

City and state:           Milwaukee, Wis                                                               +RQ 6WHSKHQ & 'ULHV
                                                                                                        Printed name and title
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     AFFIDAVIT IN SUPPORT OF AN APPLICATION FOR A SEARCH WARRANT

       I, Kevin C. Wrona, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

1.     I am a Special Agent with the U.S. Department of Homeland Security, U.S. Immigration

and Customs Enforcement, Homeland Security Investigations (“HSI”), and have been so

employed since June 2010. I am currently assigned to the HSI Office of the Resident Agent in

Charge in Milwaukee, Wisconsin. My duties include investigating criminal violations relating to

child sexual exploitation and child pornography. I have received training in the investigation of

child pornography and child sexual exploitation offenses.

2.     This affidavit is being submitted in support of a search warrant for records related to the

following electronic account:

       Skype Account (held by Microsoft):

            donstenson- this account is believed to be used by DONALD STENSON.

       The above Skype account and records are stored at premises owned, maintained,

controlled, or operated by: Microsoft Corp., a business with offices located at 11 Microsoft Way,

Redmond, Washington, 98052-6399. The information to be searched consists of one (1) account

(hereinafter, the SUBJECT ACCOUNT) and is described in the following paragraphs and in

Attachment A. This affidavit is made in support of an application for a search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Microsoft to disclose to the

government copies of the information (including the content of communications) further

described in Attachment B.

3.     The purpose of this application is to seize evidence more particularly described in

Attachment B, of violations of 18 U.S.C. § 2423(c) and (e), which make it a crime to travel in

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foreign commerce or reside, either temporarily or permanently, in a foreign country, and engage

in any illicit sexual conduct with another person who has not attained the age of eighteen or

attempt to do so; and Title 18, United States Code § 1591(a)(1), 1591(b)(1) and 1596(a)(1) , sex

trafficking of children.

4.     The statements contained in this Affidavit are based on my experience and background as

a Special Agent with HSI, and by information provided by other law enforcement agents. Some

information in this affidavit also comes from information received from the issuance of

administrative summonses. Because this affidavit is being submitted for the limited purpose of

securing a search warrant, I have not included every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable

cause to believe that evidence of violations of Title 18, United States Code, Sections 2423(c) and

(e) and 1591(a)(1), 1591(b)(1) and 1596(a)(1) is located in the accounts described in Attachment

A.

                                     PROBABLE CAUSE

5.     On June 20, 2018, I received CyberTip (CT) 35013606 from NCMEC regarding multiple

Facebook usernames that appeared to be engaged in sexually explicit communications with

minors. The CT was reported to NCMEC directly from Facebook, and included Facebook

usernames, Facebook user ID numbers, e-mail addresses and internet protocol (IP) addresses

used to access the Facebook accounts. The accounts of “Don Stevenson” and “Donald White”

were reported in the CT. The Don Stevenson account was assigned the Facebook user ID

100012891004557, with a registered e-mail address of RUNDONRUN@YAHOO.COM and the

use of IP addresses: 124.120.235.50, 219.74.114.109, and 49.145.131.152, which geolocate to

Bangkok, Thailand; Singapore; and Cebu City, Philippines, respectively. The Donald White

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account was assigned the Facebook user ID 100025143570455, with a registered e-mail address

of DONWHITECEBU@GMAIL.COM and the use of IP addresses: 172.220.77.181,

2605:a000:bce0:2c00:b17b:8b26:1673:cfbf,             and     2605:a000:bcc0:b100:ad38:bd92:2cc3:fd86,

which geolocate to Madison, Wisconsin; New Berlin, Wisconsin, and West Allis, Wisconsin,

respectively. The CT also provided Facebook account information for the three (3) alleged minor

females the Don Stevenson and Donald White accounts were in contact with, to include IP

addresses. The CT indicated that the three IP addresses used by the alleged minor females were:

175.158.226.178, 49.151.80.69, and 180.190.171.56, all three of which geolocated to the

Philippines.

6.      The following Facebook messenger chats1 were also provided in the CT:

       a.     Chats between the Don Stevenson account and an unidentified female A.L.
account on September 22, 2017:

[Don Stevenson (100012891004557) - 09/22/2017 2:46:37am PDT]
If ur here, I give you a big hug.

[A.L. (100014305757229) - 09/22/2017 2:46:55am PDT]
heheehe

[Don Stevenson (100012891004557) - 09/22/2017 2:47:21am PDT]
and your first kiss.. ha ha ha.. joking again.

[A.L. (100014305757229) - 09/22/2017 2:47:33am PDT]
hmmmmn

[Don Stevenson (100012891004557) - 09/22/2017 2:48:36am PDT]
on your cheek

[Don Stevenson (100012891004557) - 09/22/2017 2:50:13am PDT]

1
 Facebook Messenger is a chat application in which allows individual or a group of Facebook users to engage in
online chats. Facebook and Facebook Messenger are both applications which can be accessed on both a computer, as
well as a mobile device, such as a cellphone or tablet.

                                                       3



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And boobs..

        b.      Chats between the Donald White account and a Minor Victim 1 (here after
referred to as MV1) account on May 14, 2018:

Donald White (100025143570455) - 2018/05/14 8:12am PDT
We can take shower?

MV1 (100023948806018) - 2018/05/14 8:13am PDT
yes

Donald White (100025143570455) - 2018/05/14 8:16am PDT
Thank you in advance

MV1 (100023948806018) - 2018/05/14 8:16am PDT
ok

Donald White (100025143570455) - 2018/05/14 8:16am PDT
We can be lovers?

MV1 (100023948806018) - 2018/05/14 8:16am PDT
ok

       c.       Chats between the Donald White account and MV1 on May 21-22, 2018:

MV1 (100023948806018) - 2018/05/21 11:06pm PDT
How old ar you

Donald White (100025143570455) - 2018/05/21 11:07pm PDT
50 ... and you?

Donald White (100025143570455) - 2018/05/21 11:10pm PDT
How old are you?

MV1 (100023948806018) - 2018/05/21 11:56pm PDT
13

Donald White (100025143570455) - 2018/05/22 12:10am PDT
Oh. So young. I will be kind and respectful

       d.      Chats between the Donald White account and an unidentified female S.E. account
on April 17, 2018:

Donald White (100025143570455) - 2018/04/17 10:51pm PDT
My friend asks if you are a virgin
                                              4



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S.E. (100014674219418) - 2018/04/17 10:52pm PDT
Yes I'm virgin


Donald White (100025143570455) - 2018/04/17 10:52pm PDT
We respect that

S.E. (100014674219418) - 2018/04/17 10:52pm PDT
Hah

Donald White (100025143570455) - 2018/04/17 10:53pm PDT
But we can cure that if you wish

[…]

S.E. (100025143570455) - 2018/04/17 11:00pm PDT
Can you show boobs on video call?


       Additionally in the CT, the Don Stevenson and Donald White accounts were linked by

machine cookies to a third account which used the username “Don Stenson.” Facebook provided

the associated account via “cookie” technology. “Cookies” are a small text file created by a

website that is stored in the user’s computer either temporarily or permanently on the hard disk.

“Cookies” provide a way for the website to recognize you and keep track of your preferences.

This information indicated all three Facebook accounts were being logged into using the same

electronic device.

7.     An HSI liaison to NCMEC conducted research into the various combinations of the first

and last names and dates of birth for the White/Stevenson/Stenson Facebook accounts. The HSI

liaison identified an individual named: Donald Arthur STENSON (hereinafter STENSON),

DOB: XX/XX/1956, with an associated address of: XXXX S. 101st St., Milwaukee, WI 53227.

8.     As noted above, the CT provided the IP addresses used by the White/Stevenson/Stenson

accounts to log into Facebook. On September 14, 2018, a DHS summons was sent to Charter

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Communications, requesting subscriber information on IP addresses: 172.220.77.181,

2605:a000:bce0:2c00:b17b:8b26:1673:cfbf,        and   2605:a000:bcc0:b100:ad38:bd92:2cc3:fd86,

which were IP addresses associated with the Donald White account. On September 14, 2018,

Charter       responded     to     the     summons         indicating   that       IP   addresses:

2605:a000:bce0:2c00:b17b:8b26:1673:cfbf and 2605:a000:bcc0:b100:ad38:bd92:2cc3:fd86 were

registered to John Burgdorff, 2939 S. 101st St., West Allis, WI 53227, jhb004s@wi.rr.com, 414-

543-1463 and 414-630-9792. It also indicated that IP address: 172.220.77.181 is registered to:

Ellen     Jessen,   4534    Turquoise    Ln.,   Madison,     WI     53714,     608-577-7046,   and

ejessen7046@charter.net. There were no DHS summons served on the IP addresses associated

with the Don Stevenson account, as those addresses were based in foreign countries.

9.        As the investigation continued, HSI conducted a search into STENSON’s travel history.

HSI confirmed that STENSON traveled to the Philippines on multiple occasions since 2007,

most recently between on or about January 6, 2019 and on or about January 22, 2019. Since

November of 2015, Philippine travel records indicated that STENSON would arrive from

Bangkok, into either Manila or Cebu, later departing Manila or Cebu to Bangkok. In addition to

locating travel records, the HSI Attaché in Manila worked with Philippine authorities to identify

and confirm the ages of the three possible minor female victims cited in the CT.

10.       On March 21, 2019, the HSI Attaché in Manila contacted HSI Milwaukee. Between

March 18, 2019 and March 21, 2019, HSI Manila, with the assistance of the HSI Manila

Transnational Criminal Investigative Unit (TCIU), located and identified four (4) victims who

are Philippine nationals that described sexual acts and conversations that took place between

themselves and STENSON. One of the victims is now an adult, but engaged in sexual acts with

STENSON as a minor, and the other three (3) victims were 13, 15, and 16 years of age at the

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time of interview. The four victims positively identified STENSON as the person with whom

they engaged in sexual acts with by encircling the picture of STENSON through a photographic

line-up.


11.     During an interview by Philippine authorities, one (1) of the four minor females stated

that she met STENSON in 2017 when she was 12 years old. She stated that in October 2017, she

and other underage minor victims met STENSON at his hotel room at the Hotel Le Carmen in

Cebu, Philippines and proceeded to masturbate him while STENSON fondled their breasts. She

stated that after they finished, STENSON paid each of the minors’ money. She stated that she

masturbated STENSON once a week over the course of three weeks. She further stated that in

addition to money, STENSON gave her gifts, including food, clothing, a laptop, a cellphone and

a tablet. Additionally, she stated that STENSON used a Facebook account with the username

“Don Chonmanee.”

12.     On May 8, 2019, federal search warrants for the following Facebook accounts: Don

Stevenson (FB ID#: 100012891004557), Donald White (FB ID#: 100025143570455), Don

Stenson (FB ID: 1529468944), and Don Chonmanee (FB ID: 100009337719641) were issued by

U.S. District Court for the Eastern District of Wisconsin and served on Facebook on May 8,

2019.

13.     On May 17, 2019, Facebook responded to the search warrants on the accounts for: Don

Stevenson (FB ID#: 100012891004557), Donald White (FB ID#: 100025143570455), Don

Stenson (FB ID: 1529468944), and Don Chonmanee (FB ID: 100009337719641). The search

warrant returns showed the IP addresses used to log into the accounts as well as message logs

and transcripts between those accounts and other Facebook users on Facebook Messenger.

Further, the search warrant returns contained pictures and messages for each account. Each
                                              7



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account contained pictures shared by the account user of an individual who appears to be

STENSON. Based on my training and experience, the machine cookies for each Facebook

account, and my review of the search warrant return data for each Facebook account, it appears

the Facebook user for the Stevenson/White/Chonmanee/Stenson accounts are same user based on

the photos that look like the same person, that being STENSON, and the conversations contained

in each account whereby the user is chatting with what appear to be minors in a sexual manner.

Further, the Facebook users, using each Facebook account, indicated they planned to travel to the

Philippines and expressed an interest in engaging in sexual activity with minor females.

14.    After reviewing the full Facebook search warrant returns for each account, the following

is a small example of some of the Facebook messenger chats relevant to this investigation:

       a.       Chats between the Stevenson account and A.L. are as follows:

        -9/22/2017 - 09:42:52 UTC – Stevenson: ahahaha.. my excitement might include an
erection.. ha ha ha.. sorry joke.

        -9/22/2017 – 09:46:37 UTC – Stevenson: If ur here, I give you a big hug.
        -9/22/2017 – 09:46:55 UTC – A.L.: heheehe
        -9/22/2017 – 09:47:21 UTC – Stevenson: and your first kiss.. ha ha ha.. joking again.
        -9/22/2017 – 09:48:36 UTC – Stevenson: on your cheek
        -9/22/2017 – 09:50:13 UTC – Stevenson: And boobs…
        -9/23/2017 – 11:35:44 UTC – Stevenson sends a picture that appears to be STENSON,
holding up two (2) Hershey chocolate bars and one (1) Kit-Kat bar
        -9/25/2017 – 12:44:45 UTC – Stevenson: And you want me to keep the camera on when I
take a shower? ha ha ha
        9/25/2017 – 12:47:25 UTC: Stevenson: Do you want to see my penis or banana before
you close the call?

        b.     Chats between the Stevenson account and Minor 1, which is the account of an
identified minor, are as follows:

        -07/02/2017 – 11:14:52 UTC – Stevenson: Ohh..yes. U need the cp. I understand. And
after bonding, it is possible.
        **NOTE: in this context, “cp” stands for cell phone**
        […]

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       -07/02/2017 – 11:17:31 UTC – Stevenson: Do you study school, my dear?
       -07/02/2017 – 11:17:50 UTC – Minor 1: Yes why my daer
       -07/02/2017 – 11:18:27 UTC – Stevenson: Grade 7?
       -07/02/2017 – 11:19:24 UTC – Minor 1: No grade 8na ako my deat
       -07/12/2017 – 06:53:34 UTC – Stevenson: we will meet and bond next month
       -07/12/2017 – 06:57:18 UTC – Minor 1: yes I waht your bonding next month

       c.       Chats between the Stevenson account and Minor 2, which is the account of
another identified minor, are as follows:

       -07/10/2017 – 23:54:27 UTC – Minor 2: Don u give cellphone
       -07/10/2017 – 23:54:38 UTC – Minor 2: Pleass
       -07/10/2017 – 23:55:17 UTC – Stevenson: yesss….. after bonding.. okay..
       -07/10/2017 – 23:55:48 UTC – Minor 2: What bonding
       -07/10/2017 – 23:56:13 UTC – Stevenson: I don’t know.. ha ha..
       […]
       -07/10/2017 – 23:56:31 UTC – Stevenson: bf/gf bonding? Ha ha ha

       d.       Chats between the Stevenson account and Minor 3, which is the account of
another identified minor are as follows:

       -11/25/2017 – 06:01:42 – Minor 3 sends Stevenson a picture of three young females who
appear to be in the back of a vehicle. The female closest to the camera is wearing a black t-shirt
with white lettering and a cartoon monster on it.
       **NOTE the identities of the three females have not been established**
       -11/25/2017 – 06:01:53 UTC – Minor 3: On going now
       -11/25/2017 – 06:03:20 UTC – Stevenson: Ok. Don’t get wet.
       -11/25/2017 – 07:57:19 UTC – Minor 3 sends Stevenson nine (9) photographs. The
images are of the female in the black t-shirt with white lettering and a cartoon monster and who
appears to be with STENSON, in a room that appears to have similar features to a room at Hotel
Le Carmen, which is the same hotel room the victims identified as the one where they would
meet STENSON.
       e.       Chats between the Stevenson account and Minor 4, which is the account of
another identified minor, are as follows:

        -03/20/2018 – 13:10:39 UTC – Stevenson: Matt does not know when he will go to Cebu
        -03/20/2018 – 13:12:11 UTC – Minor 4: Oh my god im excited to see matt
        -03/20/2018 – 13:14:30 UTC – Stevenson: I will tell him he should go there.. He really
likes to make love to pregnant girls




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       **NOTE: as explained below, Minor 4 was forensically interviewed and stated that her
birthday is June 4, 2001 and she was 17 years old and was four (4) months pregnant when she
had sexual intercourse with STENSON**

           f.       Chats between the Stevenson account and “Jon Bedford” are as follows:

        -09/04/2017 – 14:12:01 UTC – Stevenson: Weird because any gal in my stable that I told
to take off for any days other than maybe exams, they’d do it.
        -09/05/2017 – 10:51:55 UTC – Stevenson sends Bedford a picture that appears to be
STENSON laying in bed with two younger looking females, with one of them smiling at the
camera
        -09/05/2017 – 10:52:12 UTC – Bedford: Wow
        -09/05/2017 – 10:52:29 UTC – Stevenson: Gotta get a last minute massage..
        -09/05/2017 – 10:53:09 UTC – Bedford: Ok. Say hi to smiling girls
        -09/05/2017 – 10:53:17 UTC – Stevenson: [Minor 4] and [Minor 3]

           g.       Chat between the Stevenson account and Vhasin Akohw Touh are as follows:

       -08/20/2017 – 09:22:52 UTC – Stevenson: text me.. 09398220050
       -09/17/2017 – 08:34:23 UTC – Stevenson: I know.. u will chupa or anal sex.. But NO
tongue kiss.. No french kiss!!
       -09/17/2017 – 08:34:48 UTC – Vhasin: Hahahahahahah noooo
       -11/04/2017 – 09:15:20 UTC – Vhasin: And you have another ring for me?
       -11/04/2017 – 09:16:48 UTC – Stevenson: not until after your debut2.. An engagement
ring
       -11/04/2017 – 10:59:59 UTC – Stevenson sends a picture of an individual who appears to
be STENSON with another individual who appears to be John Burgdorff3.
       -02/12/2018 – 04:19:26 UTC – Vhasin sends Stevenson a picture of what appears to be
two young females, both with dark colored hair, one in a dark colored shirt and the other in a
white colored shirt, riding in what appears to be the back of a taxi
       h.     Chats between the Stevenson account and MSK, who is an identified victim who
was interviewed by Philippine authorities in March 2019 and disclosed sexual encounters with
STENSON in 2016 when she was under 18 years of age, are as follows:
           -04/30/2017 – 05:10:41 UTC – Stevenson: U know where LeCarmen is
           -04/30/2017 – 05:10:48 UTC – MSK: yes
           -04/30/2017 – 05:11:09 UTC – Stevenson: Can you come now plz.
           -04/30/2017 – 05:11:17 UTC – MSK: Okay

2
    Through my training and experience, I have come to understand the word “debut” means 18 th birthday.
3
 As noted earlier, John Burgdorff is the individual whose name is registered with Charter Communications as the
user of IP addresses used by the Donald White account, and as explained below, is the owner of 2939 S. 101 st St.,
West Allis, WI where STENSON was located and arrested.

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        -04/30/2017 – 05:11:26 UTC – Stevenson: U can text me if there are any problems..
09398220050
        -04/30/2017 – 05:11:27 UTC – MSK: i log out now!
        -04/30/2017 – 05:12:04 UTC – Stevenson: Okay.. Just come to room 304… I will be at
the sports center, but my friend is waiting to talk with you.. and share with you..
        -05/03/2017 – 06:10:23 UTC – Stevenson: Ok.. be here at 4 for bonding with John and i
will give you a hug.
        -06/11/2017 – 02:00:14 UTC – MSK: Don? My Birthday is on August 29. Dont forget
my Birthday gift hehehehe
        -06/11/2017 – 02:01:12 UTC – Stevenson: Ahahaha.. I will try
        -06/11/2017 – 02:02:34 UTC – MSK: That’s my 18th birthday
        -07/22/2017 – 07:20:28 UTC – Stevenson: <3 <3 Thanks for the video chat!
15.    Between June 25, 2019 and June 27, 2019, forensic interviews were conducted on

multiple minor victims who were identified by law enforcement who reside in the Philippines.

During the interviews, the females all disclosed having engaged in sexual encounters with

STENSON, to include sexual intercourse, while they were under 18 years of age. Each of them

also explained that STENSON would pay them in Philippine pesos after the sex acts were

completed, and would also give them gifts to include food, clothing, cellphones, computers, and

payment for schooling. During the interviews, several of the minors described STENSON as

having a grey and black laptop computer (brand unknown), a black HP laptop computer, an

Apple iPhone, a Samsung cellphone, and a Samsung tablet. Minor 3 and Minor 4 both stated that

STENSON sent their mother, D.C., money via Western Union. After learning this information,

records were requested via subpoena from Western Union on June 28, 2019. On July 1, 2019, I

received a response from Western Union showing that STENSON sent D.C. $123 U.S. dollars

(USD) on June 2, 2017, $78.48 USD on October 29, 2017, and $68.60 USD on January 9, 2018.

16.    After having reviewed all of the evidence to include the facts contained in this affidavit,

there was probable cause to believe STENSON had engaged in illicit sexual conduct with minors

and as such on July 12, 2019, I arrested STENSON with assistance from the City of West Allis

Police Department, at the residence of 2939 S. 101st St., West Allis, WI which is owned by John
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Burgdorff. I knocked on the door and after several minutes of knocking and ringing the doorbell,

an individual, later identified as STENSON, exited the residence from the back door of the

house. STENSON was placed in handcuffs by West Allis officers for officer safety. Another

male, later identified as John Burgdorff, was at the backdoor of the residence and sat on the steps

leading to the door. I introduced myself to STENSON and advised STENSON there was a

warrant for his arrest for the illicit sexual conduct with minors. STENSON stated to me that he

had written a letter for a judge or a “reader” stating his case, and that such letter was on his

computer and that he had not printed it out yet. STENSON stated he needed an attorney as he has

been advised that “people are looking for a conviction rather than justice” and “I am innocent”

and that he will not be speaking with anyone. STENSON then asked Mr. Burgdorff to print off

the letter from his computer, as well as get other documents from his luggage which were inside

the house. Mr. Burgdorff went into the house to obtain the documents requested by STENSON

while accompanied by West Allis officers. A short time later, the officers exited the residence

with STENSON’s Lenovo laptop computer, Samsung cellphone, one piece of luggage and a

backpack belonging to STENSON that Mr. Burgdorff provided to the officers. The luggage piece

had a baggage tag on it with STENSON’S name and the name and address for Hotel Le Carmen.

17.    At approximately 6:55 PM, STENSON was transported to the West Allis Police

Department. There, STENSON was inprocessed, fingerprinted and photographed. STENSON’s

items were inventoried by the West Allis Police Department and stored as property. During the

inventory of STENSON’s luggage and backpack, a SanDisk Ultra 32GB micro SD card, a

DT101 G2 8GB thumb drive, and an Apacer thumb drive, were found in the backpack. None of

the electronic devices were opened, looked through, or any in any way examined.



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18.    On July 15, 2019, HSI Russell Dykema and I picked up STENSON and his property at

West Allis Police Department. STENSON was transported to the U.S. Marshal’s Office at the

federal courthouse in Milwaukee, WI where he later had his arraignment before U.S Magistrate.

19.    On August 14, 2019, the above devices, seized during STENSON’s arrest, were taken to

HSI Chicago for forensic examination.

20.    On February 5, 2020, HSI Milwaukee received the last of the forensic examination

reports from HSI Chicago.

21.    An examination of the forensic report of the Lenovo laptop, which was in STENSON’s

possession at the time of his arrest, revealed the presence of the Skype program, which included

an account of “donstenson”. The report provided account information on the “donstenson”

account, which indicated the account was created on August 11, 2005, and contained a “selfie”

style profile picture of STENSON, and media cache which included an image of STENSON. The

profile photo of STENSON was also found in the Facebook Messenger chats of “Don

Stevenson” and is of STENSON shown from the shoulder up, in front of a green wall or door,

wearing glasses and seemingly not wearing a shirt.

22.    A sample of a Skype chat found on the computer revealed the following:

               -6-20-2018 – 2:48:27 PM – donstenson: Are you still going to school?
               -6-20-2018 – 2:48:34 PM – bembem_n: yeah
               -6-20-2018 – 2:48:42 PM – bembem_n: im grade 10

23.    A review of the contacts associated with the donstenson Skype account revealed another

Skype user named “princess.pableo1”, which has a profile picture of two females, who appear to

be Filipino and pre-teen, with one of the females sticking her tongue out.

24.    The forensic exam report of the Samsung Galaxy Note 3, which was also in STENSON’s

possession at the time of his arrest, also indicated the presence of the Skype application, and had

                                                13



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“princess pableo” as a contact, containing the same profile picture from the “princess.pableo1”

Skype account.

25.    On August 6, 2019, HSI Attaché Bangkok assisted the Royal Thailand Police (RTP) with

executing search warrants at STENSON’s residences in Bangkok, Thailand. During the search of

both residences, the RTP seized numerous electronic storage devices and media, as well as other

documents and evidence. The electronic storage devices and media seized included several flash

and thumb drives, mobile phones, external hard drives, Apple iPods, laptop and desktop

computers. Forensic images of the seized electronic devices were provided to HSI Bangkok, and

ultimately to HSI Milwaukee.

26.    On December 11, 2019, the hard drive provided by the RTP containing the forensic

images of the seized devices, was turned over to HSI Chicago for forensic examination. While

the forensic examination of the images is still ongoing, HSI Chicago provided a forensic report

which contained Skype chats found on some of the device images.

27.    The forensic report provided the Skype information from a Kingston hard drive out of a

computer seized from STENSON’s Bangkok residence. A review of this report indicated the

presence of Skype accounts for “don_chonmanee”, which had a profile picture of Hershey

chocolate bars, and an account of “donstenson”, which had a picture depicting STENSON as the

profile photo.

28.    A sample of Skype chats found on the Kingston hard drive from the computer are as

follows:

       -12/26/2014 6:00:13 AM – donstenson: your birthday is in August?
       -12/26/2014 6:00:53 AM – carry.nadessa: no january 3
       -12/26/2014 6:01:05 AM – donstenson: oh really? Sweet 16?
       -12/26/2014 6:01:41 AM – carry.nadessa: yes
                                               14



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            -12/26/2014 6:01:57 AM – carry.nadessa: what is your gift i hope u send me gift
            -12/26/2014 6:02:14 AM – donstenson: Everything will come on February when we meet
            and bond..4
            -12/26/2014 6:02:46 AM – donstenson: you are so beautiful
            -12/26/2014 6:02:52 AM – donstenson: I could really fall in love with you
            […]

            -1/17/2015 8:40:16 AM – donstenson: I'll give you money when I go there if u chupa 5
            me..
            -1/17/2015 8:40:52 AM – carry.nadessa: okay bye your so bad boy fuck
            -1/17/2015 8:41:03 AM – donstenson: I'm bad?
            -1/17/2015 8:41:15 AM – donstenson: You started it by begging... That is no dignity..
            -1/17/2015 8:41:24 AM – donstenson: I'm trying to help you..
            -1/17/2015 8:41:30 AM – donstenson: But u don't want to help me..
            -1/17/2015 8:41:33 AM – donstenson: I'm not bad..
            -1/17/2015 8:41:35 AM – donstenson: I’m good

29.         Another sample of Skype chats are as follows:

            -1/12/2015 10:30:24 AM – donstenson: I will go to the same room.. I like it.. nice warm
            showr
            -1/12/2015 10:30:29 AM – donstenson: shower.
            -1/12/2015 10:30:34 AM – karisma.bacho: okirr
            -1/12/2015 10:30:52 AM – donstenson: what friends do u want to bring to eat jollibee?6
            -1/12/2015 10:32:17 AM – donstenson: Is Carlen ready to make love?
            -1/12/2015 10:32:39 AM – karisma.bacho: no
            -1/12/2015 10:32:45 AM – donstenson: no problem..
            -1/12/2015 10:32:50 AM – donstenson: I love chupa.. hehe
            -1/12/2015 10:40:57 AM – donstenson: If some other girl is going to come eat jollibee..
            tell them to add me on FB so we can chat..
            […]
            -7/13/2015 3:47:12 AM – donstenson: do u have sexy pics?
            […]
            -12/29/2015 4:32:08 PM – donstenson: if u come here, u can have money

4
 Through my training, experience and interviews of the victims in this case, I have come to understand “bond” and
“bonding” to be a reference to sexual acts.
5
  Through my training, experience and interviews of the victims in this case, I have come to understand “chupa”
refers to oral sex.
6
    Jollibee is a fast food restaurant chain in the Philippines.

                                                               15



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      [...]
      -12/29/2015 4:44:16 PM – donstenson: And you did nothing for me..
      -12/29/2015 4:44:19 PM – donstenson: You are just begging now..
      -12/29/2015 4:44:37 PM – donstenson: I work for my money.. and you need to work for
      it too....
      […]

      -8/15/2017 2:04:59 AM – donstenson: did u have ur debut already?
      -8/15/2017 2:05:17 AM – karisma.bacho: yeahh haha my brother died last july 1
      -8/15/2017 2:05:24 AM – karisma.bacho: what debut
      -8/15/2017 2:06:35 AM – donstenson: debut is 18th birthday
      -8/15/2017 2:06:47 AM – karisma.bacho - 18years old ? no on janaury 2
      -8/15/2017 2:08:51 AM – donstenson: I think after your 18th birthday, you should get a
      passport to travel overseas

30.   A third sample of Skype chats are as follows:

      9/7/2015 3:18:27 PM – mercy.cute55: im 14
      9/7/2015 3:18:31 PM – mercy.cute55: where u send
      9/7/2015 3:18:14 PM – donstenson: How old are you now?
      9/7/2015 3:18:34 PM – donstenson: ohh u look 11
      […]
      9/25/2015 6:13:35 AM – donstenson: when I go to Iligan again I will take u to eat at
      Jollibee or chow king
      […]
      9/25/2015 6:14:49 AM – donstenson: can u send me one or two sample sexy photos?
      […]
      9/25/2015 6:23:41 AM – donstenson: did I give u chocolate in iligan?
      9/25/2015 6:23:48 AM – mercy.cute55: yesss i like taht
      […]
      9/25/2015 5:16:52 AM – donstenson: but what can u do for me, hunny
      9/25/2015 5:17:11 AM – mercy.cute55: i will show you or io give you picstures naked
      9/25/2015 5:17:27 AM – donstenson: wow..... ur so sweet and sexy
      […]
      9/25/2015 5:17:46 AM – mercy.cute55: what u like i do for you
      9/25/2015 5:18:11 AM – donstenson: if ur here u can chupa.. <ss type="tongueout">:P</
      ss> and I can lick u and taste u
      […]

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      9/25/2015 5:19:15 AM – donstenson: how much do u want for a show and pictures?
      9/25/2015 5:19:26 AM – mercy.cute55: 1500
      9/25/2015 5:20:18 AM – mercy.cute55: 1500 all both u like
      9/25/2015 5:20:20 AM – donstenson: 1500
      9/25/2015 5:20:53 AM – donstenson: good price..
      9/25/2015 5:21:14 AM – mercy.cute55: u want to buy show next week
      […]
      9/25/2015 5:22:53 AM – donstenson: remember when I kissed u?
      […]
      9/27/2015 2:15:56 PM – donstenson: can u lift ur shirt a minute like this?
      9/27/2015 2:16:14 PM – mercy.cute55: many people but its ok <ss type="smile">:)</ss>
      9/27/2015 2:16:19 PM – donstenson: thx
      9/27/2015 2:16:38 PM – mercy.cute55: i will do show you <ss type="smile">:)</ss>
      9/27/2015 2:16:39 PM – donstenson: cuz u have no boobs.. he he

31.   A prior review of the Facebook Messenger chats on Facebook accounts associated with

STENSON, revealed STENSON’s attempts to chat with underage females via Skype.

32.   A sample of the Facebook Messenger chats indicating the use of Skype are as follows:

      -01-18-2015 - 06:01:31 UTC – Don Stenson (1529468944): heh heh… okay..Up to you..
      Do u have skype now? I’d love to chat cam tocam
      -01-18-2015 – 06:02:34 UTC - Ahnamae Montejo (100002783120975): no bye i have to
      go because we go in sinulog festive
      -01-18-2015 – 06:03:10 UTC – Don Stenson: okay.. happy Sunday.. god bless u and your
      family
      […]
      -04-20-2015 – 12:07:48 UTC – Don Stenson: What year will u study after summer
      vacation.
      -04-20-2015 – 12:10:17 UTC – Ahnamae Montejo: aaahhhhmmmm…..!! grade 10 .
      […]
      -04-20-2015 – 12:15:48 UTC – Don Stenson: wow.. I wish we could bond.. in my hotel..
      he he

33.   A second example of the Facebook Messenger chats are as follows:

      -10-13-2015 – 05:30:55 UTC – Don Stenson: Okay.. do u study High School or
      Elementary?
      -10-13-2015 – 05:31:14 UTC – Esthepany Barcuma (100008745720617): high school
      -10-13-2015 – 05:31:52 UTC – Don Stenson: First year or second year?
      -10-13-2015 – 05:32:10 UTC – Esthepany Barcuma: frst
      […]
                                          17



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       -10-24-2015 – 06:14:13 UTC – Don Stenson: you have skype?
       -10-24-2015 – 06:15:28 UTC – Esthepany Barcuma: yes
       -10-24-2015 – 06:16:18 UTC – Don Stenson: ohh can I add you there? My skype name is
       donstenson

                                             SKYPE

34.    Skype is a software application that allows users to freely make voice calls over the

internet (VoIP services), and also serves as a file transfer and video conferencing platform.

Skype also has an Instant Message (“IM”) capability, which is a collection of technologies that

create the possibility of real-time text-based communication between two or more participants

over the internet or some form of internal network/intranet. IM allows effective and efficient

communication, allowing immediate receipt of acknowledgement or reply.

35.    Skype, headquartered in Luxembourg, is a division of Microsoft Corp, headquartered in

Redmond, Washington. Through my training and experience, and discussions with other law

enforcement persons, I am aware that historic transcripts of Skype chats, if available, are retained

on servers in the care, custody or control of Microsoft, Corp.

                                     TECHNICAL TERMS

36.    Based on my training and experience, I use the following technical terms to convey the

following meanings:

           a. “VoIP” is a form of communication that allows individuals to make phone calls
           over a broadband internet connection instead of typical analog telephone lines.

           b. Electronic storage devices: Electronic storage devices includes computers,
              cellular telephones, tablets, and devices designed specifically to store electronic
              information (e.g., external hard drives and USB “thumb drives”). Many of these
              devices also permit users to communicate electronic information through the
              internet or through the cellular telephone network (e.g., computers, cellular
              telephones, and tablet devices such as an iPad).

           c. IP Address: An Internet Protocol address (or simply “IP address”) is a unique
              numeric address used by computers on the Internet. An IP address is a series of
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               four numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178).
               Every computer attached to the Internet computer must be assigned an IP address
               so that Internet traffic sent from and directed to that computer may be directed
               properly from its source to its destination. Most Internet service providers control
               a range of IP addresses. Some computers have static—that is, long-term—IP
               addresses, while other computers have dynamic—that is, frequently changed—IP
               addresses.

           d. Internet: The Internet is a global network of computers and other electronic
              devices that communicate with each other. Due to the structure of the Internet,
              connections between devices on the Internet often cross state and international
              borders, even when the devices communicating with each other are in the same
              state.

                                        CONCLUSION

37.    STENSON has been indicted in U.S. District Court for the Eastern District of Wisconsin

on charges of traveling in foreign commerce to engage in illicit sexual conduct and sex

trafficking of minors.

38.    On March 23, 2020, a preservation request was submitted to Microsoft, requesting the

preservation of all account information and data pertaining to Skype account “donstenson”, and

on May 4, 2020, I received an e-mail from Microsoft confirming the receipt of the request.

39.    A review of the forensic examination of the digital devices seized at the time of

STENSON’s arrest, as well as at the search warrant at his Bangkok residences, reveal the

presence of the Skype program, and the Skype account “donstenson”, which contained a profile

picture of STENSON.

40.    STENSON appears to have used the Facebook Messenger service to arrange

communication with additional underage minor females on the Skype chat platform.




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41.    A review of the forensic report of a hard drive from a computer seized from STENSON’s

Bangkok residence, revealed the presence of the Skype program, containing Skype accounts

named “donstenson” and “don_chonmanee”, which are known usernames for STENSON.

42.    A review of the Skype chats show that user “donstenson” engaged in chats with females

he knows to be minors, commenting that he would like to meet them for “bonding”, or “chupa”,

while making statements to give them money, take them to Jollibee, and/or give them chocolates,

if the females would meet him.

43.    Based upon the information outlined above, there is probable cause to believe that in the

above described electronic account, there is evidence of violations of 18 U.S.C. § 2423(c) and

(e), traveling in foreign commerce to engage in illicit sexual conduct and attempting to do so;

and Title 18, United States Code § 1591(a)(1), 1591(b)(1) and 1596(a)(1), sex trafficking of

children. Therefore, I respectfully request that the attached warrant be issued authorizing the

search of the items listed in Attachments A and the seizure of the items listed in Attachments B.

           INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

44.    I anticipate executing this warrant under the Electronic Communications Privacy Act, in

particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant to

require Microsoft to disclose to the government copies of the records and other information

(including the content of communications).

44.     Based on the forgoing, I request that the Court issue the proposed search warrant.

45.    This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

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46.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

47.    I request that the Court order Microsoft not to notify any person (including the

subscribers or customers of the account listed in Attachment A) of the existence of the requested

warrant before December 24, 2020, or until further order of the Court. Microsoft is a provider of

an electronic communication service, as defined in 18 U.S.C. § 2510(15), and/or a remote

computer service, as defined in 18 U.S.C. § 2711(2). Pursuant to 18 U.S.C. § 2703, I seek a

warrant requiring Microsoft to disclose records and information in connection with a criminal

investigation.   This Court has authority under 18 U.S.C. § 2705(b) to issue “an order

commanding a provider of electronic communications service or remote computing service to

whom a warrant … is directed, for such period as the court deems appropriate, not to notify any

other person of the existence of the warrant ….” Id.

48.    Here, such an order is appropriate because the requested warrant relates to an ongoing

criminal investigation that is neither public nor known to all of the targets of the investigation,

and its disclosure may alert the targets to the ongoing investigation. Accordingly, there is reason

to believe that notification of the existence of the requested warrant will seriously jeopardize the

investigation, by giving the target an opportunity to destroy or tamper with evidence, or

otherwise seriously jeopardize an investigation. See 18 U.S.C. § 2705(b). The suspect is not

aware of the investigation into him/her. If he/she were to learn the government is investigating

him/her, he/she could destroy additional evidence of his/her crimes that may exist and be

revealed during the search of his/her Microsoft account.

49.    Based on the forgoing, I request that the Court issue the proposed search warrant.

Because the warrant will be served on Microsoft who will then compile the requested records at

                                                 21



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a time convenient to it, there exists reasonable cause to permit the execution of the requested

warrant at any time in the day or night.




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                                     ATTACHMENT A

                         ITEMS TO BE SEIZED AND SEARCHED

This warrant applies to information associated with the following Skype account:


              donstenson

(the “Target Account”) which is stored at premises owned, maintained, controlled, or operated

by Microsoft Corp., a business with offices located at 1 Microsoft Way Redmond, WA 98052-

6399.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

   I. Information to be disclosed by Microsoft Outlook (the “Provider”)

       To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any emails, records, files, logs, or information that

has been deleted but is still available to the Provider, the Provider is required to disclose the

following information to the government for each account or identifier listed in Attachment A:


   1. All records, in any form and however kept or stored, in the possession, custody, or
      control of Microsoft, Corp. and/or Skype Communications SARL., pertaining to the
      Target Account, including, but not limited to the following:

       a.              Customer or subscriber account information, or any related subscriber
                       accounts;
       b.              Name(s) and email addresses;
       c.              Address(es);
       d.              Records of session times and duration;
       e.              Length of service (including start date) and types of service utilized;
       f.              Email and password records;
       g.              Alternative email addresses used during registration;
       h.              Purchase history;
       i.              Skype online current subscription;
       j.              Telephone or instrument number of other subscriber number(s) or identity,
                       including any temporarily assigned network address; and
       k.              The means and source of payment (if any) for services, to include any
                       credit card or bank account numbers;
       l.              IP address used to register the account;
       m.              Log-in IP addresses associated with session times and dates;
       n.              Contact/Buddylist;
       o.              Chat/Media content.

   2. Customer or subscriber information for any other accounts controlled by or related to the
      Target Account.

   3. All content and connection log files of all activity by the Target Account, or any related
      subscriber accounts, including but not limited to:

       a.              Connection destination;
       b.              Connection time and date;
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       c.             Disconnect time and date;
       d.             Skype Out records;
       e.             Skype Online records;
       f.             SMS records;
       g.             Skype wifi records;
       h.             Method of connection to system (e.g. HTTP, SMTP);
       i.             Data transfer volume (e.g. bytes); and
       j.             Any other relevant routing information (e.g. forwarding addresses).

   4. The contents of all emails, private messages, opened or unopened, sent to, from, and
      through the Target Account, or any related subscriber accounts.

   5. All address books or buddy lists associated with the Target Account, or any related
      subscriber accounts.

   6. All files stored in any folders or otherwise associated with the Target Account, or any
      related subscriber accounts.

   7. All videos or audio recordings posted, transferred, or otherwise associated with the
      Target Accounts, or any related subscriber accounts.

   8. All photos or images posted, transferred, or otherwise associated with the Target
      Account, or any related subscriber accounts.

   9. Information pertaining to the use of public switched telephone network (PSTN)
      interconnections to include destination telephone numbers for any calls placed to the
      public PSTN.

   10. Means and source of payment (including any credit or bank account number) or other
       methods of payment from third parties like, Paypal etc. and any and all other complete
       transactional information including billing addresses.


The Provider shall disclose responsive data, if any, by sending it to Special Agent Kevin Wrona,

Homeland Security Investigations, 790 N. Milwaukee St., Suite 600, Milwaukee, WI 53202,

kevin.c.wrona@ice.dhs.gov, using the US Postal Service, another courier service, or through

email notwithstanding 18 U.S.C. 2252A or similar statute or code.




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